Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 1 of 23

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
Inre: ) Chapter 11
) Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,’ ) Jointly Administered
)
Debtors. ) Objection Deadline: March 9, 2011 at 4:60 pm (ET)
} Hearing Date: Scheduled only if necessary
)

TWENTY-THIRD MONTHLY APPLICATION OF FRASER MILNER CASGRAIN LLP
CANADIAN COUNSEL FOR THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS, FOR INTERIM
ALLOWANCE OF COMPENSATION AND FOR
REIMBURSEMENT OF EXPENSES FOR SERVICES
RENDERED DURING THE PERIOD FROM
DECEMBER LTO DECEMBER 31, 2010
(All Amounts in Canadian Dollars)

Thisisa(n):x monthly ——_simterim —_—_—__ final application.
Name of Applicant: Fraser Milner Casgrain LLP
Authorized to Provide
Professional Services to: Official Committee of Unsecured Creditors
Date of Retention: March 5, 2009 (nunc pro tunc to January 26, 2009)

Period for which Compensation
And Reimbursement is sought: December 1 to December 31, 2010

Amount of Compensation sought as

actual, reasonable and necessary: CDN $258,613.50 Equivalent to USD $261,354.80"

Amount of Expense Reimbursement
sought as actual, reasonable and

necessary: CDN $6,940.25 Equivalent to USD $7,013.82"

The total time expended during this Compensation Period for the preparation of Fraser Milner Casgrain’s
Twenty-Second Monthly Fee Application was 1.5 hours and the corresponding compensation is CDN.
$1,125.00).

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ tax identification number, are: Nortel

Networks Inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Alisystems Inc. (9769), Nortel Alsystems
International Inc. (5596); Xras, Inc. (4181); Sonoma Systems (2073); Qtera Corporation (0251); Coretek, Inc. (5722), Nortel
Networks Applications Management Solutions, Inc. (2846); Nortel Networks Optical Components, Inc. (3545), Nortel Networks
HPOCS Inc. (3546); Architel Systems (U.S.) Corporation (3826); Nortel Networks International Inc, (0358); Northern Telecom
International Inc. (6286}; and Nortel Networks Cable Solutions Inc. (0567).

* Reuters Exchange Rate as of close of business on February 14, 2011 was CDN. $1.00 : U.S. $1.0106

9424762_1
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 2 of 23

SUMMARY OF LAWYERS AND PARALEGALS
RENDERING SERVICES DURING THE PERIOD

DECEMBER i, 2010 THROUGH DECEMBER 3H, 2010
(AH Amounts in Canadian Dollars)

Name Title Bepartment Province of Bar Hours | Rate Billed Value
Admission/Year
Kukulowicz, B.S. | Partner Financial Restructaring Ontario - 1990 12.4 } 3785.00 $9,734.00
Picard, M.M. Pariner Pensions/Benefits Ontario - 1985 29.6 | $775.00 $22,940 00
MacFartane, AL. | Partner Financial Restructuring Ontario - 1988 649 | $750.00 348,675 00
Matheson, RJ. Partner Corporate/M&A/Finance/Real Estate Ontaria - 1980 139 } $785.00 $10,911.50
Wuader, ME Partner Financial Restructuring Ontario - 1990 89.4 | $756.00 $67,050 00
Woodbury, C D Partner Employment/Pension/ Research Ontario - 1981 16 | $675.00 31,080.06
Dunsmuir, MJ Associate Pensions/Benefits Ontario - 2006 20.2 | 3375.00 $7,575.00
Hétu, J. Associate Financial Restructuring Ontario ~ 2009 8&9 | $310.00 $2,759.00
North, AR. Associate Financial Restrecturing Ontario - 2009 12.7 } $310.00 $3,937 OD
Jacobs, B.C. Consultant Financial Restructuring 1361 | $660 00 $81,660.00
Porretia, CM. Associate Employment/Pension/ Research Ontario - 2006 76 | $345.00 $2,622.00
TOTAL 397 3 CDN. $258,943 50
Less Non-Working Travel Time Discount (50% of $660) {$330 G0}
TOTAL CDN. $258,613.50

9424762_1

Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 3 of 23

COMPENSATION BY PROJECT CATEGORY
DECEMBER 1; TO DECEMBER 41, 2010
{All Amounts in Canadian Dollars)

Project Category Hours Value
General Case Administration 1.6 $1,155.00
FMC Fee Application/Monthly Billing Reports 2.1 $1,575.00
Retention of Professionals 13.2 $8,010.00
Creditors Committee Meetings 27.1 $16,780.50
Court Hearings 212 $15,480.50
General Claims Analysis/Claims Objections 76.6 $52,258.00
CCAA Order/Court-Ordered Charges/Canadian 19 $1,185.00
Analysis
Labour Issues/Employee Benefits 68 $43,860.00
Real Estate Issues/Leases 31 $22,019.50
Pian, Disclosure Statement and Pian Related 1.6 $960.00
Document
Asset/Stock Transaction/Business Liquidations 4.6 $2,635.00
Travel 1 $660.00
Intercompany Analysis 20.9 $15,685.50
Canadian Proceedings/Mailers 125.2 $75,914.50
U.S. Proceedings/Matters 1.2 $765.00
Total 397.3 $258,943.50

9424762_1
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 4 of 23

DISBURSEMENT SUMMARY
DECEMBER 1 TO DECEMBER 31, 2010
(All Amounts in Canadian Dollars)

Non-Taxable Disbursements

Accommodations $3,417.51
Airfare/Travet $ 866.60
Binding Books / Documents $ 672.60
Library Computer Research $ 12.25
Long Distance Telephone Calls $ 8129
Meals & Beverages & 758.68
Parking $ 21.24
Photocopy Charges $ 953.60
Ground Transportation (Taxi $756.48
Charges/Courier)
Total Non-Taxable Disbursements $6,940.25 CDN.

9424762_1
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 5 of 23

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re : Chapter 11
: Case No. 09-10138 (KG)
Nortel Networks Inc., et al., | : Jointly Administered

Debtors : Objection Deadline March 9, 2011 at 4:00 pm (ET)

: Hearing Date: Scheduled only if necessary
eee ne eeuneu nunc umn aeenueaceieteeuuennen x

TWENTY-THIRD MONTHLY APPLICATION OF FRASER MILNER CASGRAIN
LLP, CANADIAN COUNSEL FOR THE OFFICIAL COMMITTEE
OF UNSECURED CREDITORS, FOR INTERIM ALLOWANCE OF
COMPENSATION AND FOR REIMBURSEMENT OF EXPENSES
FOR SERVICES RENDERED DURING THE PERIOD FROM
DECEMBER 1, 2010 THROUGH DECEMBER 31, 2010
Fraser Milner Casgrain LLP ("FMC" or the "Applicant"), Canadian counsel to the
Official Committee of Unsecured Creditors (the "Committee") of Nortel Networks Inc., et al.
(the "Debtors"), hereby submits its twenty-second monthly application (the “Application")
pursuant to (i) sections 330 and 33] of title 11 of the United States Code (the "Bankruptcy
Code"), (ii) Rule 2016 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"),
(iii) Rule 2016-2 of the Local Rules of Bankruptcy Procedure for the District of Delaware (the
"Local Rules"), and (iv) the Administrative Order Pursuant to 11 U.S.C. §§ 105(a) and 331, Fed.
R. Bankr. P. 2016 and Del. Bankr. L.R. 2016-2 Establishing Procedures for Interim

Compensation and Reimbursement of Fees and Expenses for Professionals and Official

Committee Members entered on February 4, 2009 (the “Administrative Fee Order"), for interim

allowance of compensation for services rendered in the aggregate amount of CDN. $258,613.50

" The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ tax identification number,
are: Norte] Networks inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems Inc. (9769);
Nortel Altsystems International Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation (0251);
Coretek, Inc. (5722); Nortel Networks Applications Management Solutions, Inc. (2846), Nortel Networks Optical
Components, Inc. (3545); Nortel Networks HPOCS Inc. (3546); Architel Systems (U.S.) Corporation (3826); Nortel
Networks International Inc. (0358); Northern Telecom International Inc. (6286), and Nortel Networks Cable
Solutions Inc. (0567)

9424822_5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 6 of 23

Page 2

and for reimbursement of actual and necessary expenses incurred by FMC in connection
therewith in the amount of CDN. $6,940.25 for the period from December 1 through December
31, 2010 (the "Compensation Period"). In support of this Application, FMC respectfully states
as follows:

I. JURISDICTION AND VENUE

1. This Court has jurisdiction over the Application pursuant to 28 U.S.C. §§ 157 and
1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory bases for the relief requested herein
are sections 1103 and 328(a) of the Bankruptcy Code and Bankruptcy Rule 2014.

Il. BACKGROUND

2. On January 14, 2009 (the "Petition Date"), each of the Debtors filed a voluntary

petition for relief (the "U.S. Proceeding") under chapter 11 of the Bankruptcy Code in the United
States Bankrupicy Court for the District of Delaware (the "Court").

3. The Debtors are operating their businesses and managing their properties as
debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On
January 15, 2009, the Court entered an order for the joint administration of these cases pursuant
to Bankruptcy Rule 1015(b) for procedural purposes only.

4, On January 14, 2009, the Debtors’ ultimate corporate parent, Nortel Networks
Corporation, together with Nortel Networks Limited ("NNL") and certain of their Canadian
affiliates (collectively, the "Canadian Debtors" and together with the Debtors, the "Nortel
Debtors") commenced a proceeding (the "Canadian Proceeding") before the Ontario Superior
Court of Justice (the “Canadian Court") for a plan of compromise or arrangement under the

Canadian Companies’ Creditors Arrangement Act ("CCAA"). The Canadian Debtors continue to

94248225
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 7 of 23

Page 3

operate their businesses and manage their properties under the supervision of the Canadian
Court.

5. On January 14, 2009, the High Court of Justice in England placed nineteen of the
Debtors’ European affiliates (collectively, the "EMEA Debtors") into administration (the

"European Proceeding" and together with the U.S. Proceeding and Canadian Proceeding, the

"Insolvency Proceedings") under the control of individuals from Ernst & Young LLC (the

"Administrator").

6. On January 22, 2009 (the "Committee Formation Date"), pursuant to section 1102

of the Bankruptcy Code, the United States Trustee for the District of Delaware (the "US
Trustee") appointed the Committee. The Committee currently consists of five members, as
follows: (i) Flextronics Corporation (Chairperson); (ii) Airvana, Inc.; (iii) Law Debenture Trust
Company of New York, as indenture trustee; (iv) Pension Benefit Guaranty Corporation; and (v)
The Bank of New York Meilon, as indenture trustee. No trustee or examiner has been appointed
in these chapter LI cases.

7. On March 5, 2009, this Court entered an order authorizing the retention of FMC
as Canadian counsel to the Committee, nunc pro tunc to January 26, 2009. On that same day, the
Court authorized the Committee to retain and employ Akin Gump Strauss Hauer & Feild LLP
("Akin Gump") as co-counsel to the Committee, Jefferies & Company, Inc. ("Jefferies") as the
Committee's mvestment banker, Capstone Advisory Group, LLC ("Capstone") as the
Committee's financial advisor, Ashurst LLP ("Ashurst") as the Committee's European counsel,
and Kurtzman Carson Consultants, LLC ("KCC") as the Committee's communications agent.

8. On June 10, 2009, FMC filed its First Interim Fee Application Request for the

period January 26, 2009 through April 30, 2009 (the "First Interim Application"). In its First

9424822_5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 8 of 23

Page 4

Interim Application, FMC sought the award and allowance of fees in the amount of CDN.
$1,321,010.79 (including applicable taxes) and the reimbursement of expenses in the amount of
CDN. $18,604.14 (including applicable taxes). On July 17, 2009, this Court entered an order
approving 100% of the fees and expenses sought in the First Interim Application, and FMC has
received payment of such amounts.

9, On September 10, 2009, FMC filed its Second Interim Fee Application Request

for the period May 1, 2009 through July 31, 2009 (the "Second Interim Application"). In its

Second Interim Application, FMC sought the award and allowance of fees in the amount of
CDN, $1,335,961.21 (including applicable taxes) and the reimbursement of expenses in the
amount of CDN. $21,483.56 (including applicable taxes). On September 30, 2009, this Court
entered an order approving 100% of the fees and expenses sought in the Second Interim
Application, and FMC has received payment of such amounts.

10. On November 25, 2009, FMC filed its Third Interim Fee Application for the
period from August 1, 2009 through October 31, 2009 (the “Third Interim Application"). In its
Third Interim Application, FMC sought the award and allowance of fees in the amount of CDN.
$1,252,173.56 (including applicable taxes) and the reimbursement of expenses in the amount of
CDN. $29,664.94 (including applicable taxes). On December 15, 2009, this Court entered an
order approving 100% of the fees and expenses sought in the Third Interim Application, and
FMC has received payment of such amounts.

11. On February 24, 2010, FMC filed its Fourth Interim Fee Application for the
period from November 1, 2009 through January 31, 2010 (the "Fourth Interim Application"). In
its Fourth Interim Application, FMC sought the award and allowance of its fees in the amount of

CDN.$1,222,600.68 (including applicable taxes) and the reimbursement of expenses in the

9424822_5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 9 of 23

Page 5

amount of CDN.$24,078.44 (including applicable taxes). On March 17, 2010, this Court entered
an order approving 100% of the fees and expenses sought in the Fourth Interim Application, and
FMC has received payment of such amounts.

12. On June 1, 2010, FMC filed its Fifth Interim Application Request for the fee
period from February 1, 2010 through April 30, 2010 (the "Fifth Interim Application"). In its
Fifth Interim Application, FMC sought the award and allowance of fees in the amount of
CDN.$1,545,435,79 (including applicable taxes) and the reimbursement of expenses in the
amount of CDN.$30,093.86 (including applicable taxes). On June 24, 2010, this Court entered
an order approving 100% of the fees and expenses sought in the Fifth Interim Application, and
FMC has received payment of such amounts.

13. On September 8, 2010, FMC filed its Sixth Interim Application Request for the
fee period from May 1, 2010 through July 31, 2010 (the "Sixth Interim Application"). In its
Sixth Interim Application, FMC sought the award and the allowance of fees in the amount of
CDN.$737,880.08 (including applicable taxes) and the reimbursement of expenses in the amount
of CDN.$30,971.07 (including applicable taxes). Upon September 30, 2010, this Court entered
an arder approving 100% of the fees and expenses sought in the Sixth Interim Application and
FMC has received payment of such amounts.

14. On December 13, 2010, FMC filed its Amended Seventh Interim Application

Request for the fee period from August 1, 2010 through October 31, 2010 (the "Seventh Interim
Application"). In its Seventh Interim Application, FMC sought the award and the allowance of
fees in the amount of CDN.$1,069,919.50 (including applicable taxes) and the reimbursement of

expenses in the amount of CDN.$22,207.78 (including applicable taxes). On December 15,

94248225
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 10 of 23

Page 6

2010, this Court entered an order approving 100% of the fees and expenses sought in the Seventh
Interim Application and FMC has received payment of such amounts.
15. 9 On February 7, 2011, FMC filed its Twenty-Second Monthly Application for

Interim Allowance of Compensation and Reimbursement of Expenses for Services Rendered

During the Period November 1, 2010 through November 30, 2010 (the "Twenty-Second Monthly
Application"). In its Twenty-Second Monthly Application, FMC sought the award and
allowance of fees in the amount of CDN.$303,261.50 and the reimbursement of expenses in the
amount of CDN.$10,077.87. As of the date of this Application, FMC has not received any
payment on account of the Twenty-Second Monthly Application.

Ill. RELIEF REQUESTED

16. By this Application, FMC seeks (i) interim allowance and award of compensation
for the professional services rendered by FMC during the Compensation Period in the amount of
CDN. $258,613.50 representing 397.30 hours in professional services; and (ii) reimbursement of
actual and necessary expenses incurred by FMC during the Compensation Period in connection
with the rendition of such professional services in the amount of CDN. $6,940.25.

17. Pursuant to the Administrative Fee Order, FMC is seeking payment of 80% of its
fees (CDN $206,890.80) and 100% of its expenses (CDN. $6,940.25) relating to services
rendered during the Compensation Period.

18. FMC has received no payment and no promises for payment from any source for
services rendered in connection with these Insolvency Proceedings. There is no agreement or
understanding between the Applicant and any other person (other than members of FMC) for the
sharing of compensation to be received for the services rendered in these cases.

19. As Stated in the Affirmation of Michael J. Wunder, Esq. (the "Wunder

Affirmation"), annexed hereto as Exhibit A, all of the services for which interim compensation is

9424822 5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 11 of 23

Page 7

sought herein were rendered for or on behalf of the Committee solely in connection with these

Cases.

IV. SUMMARY OF SERVICES RENDERED

20. | FMC has rendered professional services to the Committee as requested and as
necessary and appropriate in furtherance of the interests of the Debtors' unsecured creditors
during the Compensation Period. The variety and complexity of the issues in these Insolvency
Proceedings, including the Canadian Proceeding, and the need to act or respond to issues on an
expedited basis in furtherance of the Committee's needs have required the expenditure of
significant time by FMC personnel from several legal disciplines.

21. In the ordinary course of its practice, FMC maintains written records of the time
expended by lawyers and paraprofessionals in the rendition of their professional services. In
accordance with the provisions of the Administrative Fee Order, a compilation showing the name
of the lawyer or paraprofessional, the date on which the services were performed, a description
of the services rendered, and the amount of time spent in performing the services for the
Committee during the Compensation Period is annexed hereto as Exhibit B.

22. Inthe ordinary course of its practice, FMC also maintains records of all actual and
necessary out-of-pocket expenses incurred in connection with the rendition of its professional
services, all of which are available for inspection. A schedule of the categories of expenses and
amounts for which reimbursement is requested is annexed hereto as Exhibit C. A detailed
summary of the expenses is attached hereto as Exhibit D.

23. FMC respectfully submits that the professional services that it rendered on behaif
of the Committee were necessary and appropriate, and have directly and indirectly contributed to
the effective administration of these chapter 11 cases, including the Committee's interest in the

Canadian Proceeding.

9424822_5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 12 of 23

Page 8

24, The following summary of services rendered during the Compensation Period is
not intended to be a detailed description of the work performed, as those day-to-day services and
the time expended in performing such services are fully set forth in Exhibit B. Rather, it is
merely an attempt to highlight certain of those areas in which services were rendered to the
Committee, as weil as to identify some of the problems and issues that FMC was required to
address.

Case Administration
(Fees: CDN. $1,155.00; Hours 1.60)

25. | During the Compensation Period, FMC routinely held internal meetings with the
professionals assigned to this matter to ensure that FMC was representing the Committee in the
most efficient matter with the least cost to these estates with respect to the Canadian Proceeding,
FMC ensured that it coordinated its activities with those of Akin Gump and the other
professionals acting on behalf of the Committee, including Jefferies and Capstone, and the
Debtors' Chief Restructuring Officer, John Ray.

26. FMC believes it was able to efficiently address all issues relating to the case
administration that have arisen during the pendency of the Canadian Proceeding and the
Recognition Proceeding.

Canadian Proceedings
(Fees: CDN. $75,914.50; Hours 125.20)

27. During the Compensation Period, FMC reviewed and analyzed the amended and
restated order (the "Initial Order") granted by the Canadian Court in the Canadian Proceeding in
connection with various issues and transactions arising in the Canadian Proceeding. FMC also

reviewed and analyzed motion record material filed by the Canadian Debtors and the Monitor (as

9424822. §
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 13 of 23

Page 9

that term is defined below) in the Canadian Proceeding. In connection therewith, FMC, carefully
analyzed the relief requested in the proposed order, participated in conference calls and in-person
meetings with the Monitor (as that term is defined below), Nortel Debtors’ Canadian counsel, as
well as other major stakeholders, to discuss the issues associated therewith. In connection with
such analyses, FMC conducted diligence on the subject matter of each motion in order to
determine the effect that the relief requested by the Canadian Debtors in Canadian Proceeding
would have on the Debtors, the interests of the Debtors’ unsecured creditors and the
administration of the Debtors' cases. In connection therewith FMC, along with Akin Gump,
participated in numerous conference calls with the Debtors' professionals and the Monitor (as
that term is defined below) and its professionals, to discuss the relief requested in the Canadian
Proceeding. FMC, with the assistance of Akin Gump, ensured that the Committee had a
complete understanding of the Canadian Proceeding and was apprised of all material
developments in the Canadian Proceeding through regular conference calls and, as appropriate,
detailed memoranda. During the Compensation Period, FMC attorneys, on behalf of the
Committee, also analyzed claims distribution issues in respect of the Canadian Proceeding.

28, During the Compensation Period, Ernst & Young Inc., in ils capacity as Monitor

of the Canadian Debtors (the "Monitor") filed reports with the Canadian court with updates on

the progress of the Canadian Debtors reorganization efforts and/or the Monitor's
recommendations with respect to relief requested by the Canadian Debtors. FMC reviewed each
of these reports, discussed the reports with Akin Gump, the Committee's financial professionals
as well as the professionals for the Canadian Debtors.

29, During the Compensation Period, FMC attorneys worked with Akin Gump to

ensure that the interests of the Debtors' estates were protected in connection with the Canadian

94248225
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 14 of 23

Page 10

Debtors’ sale of the Carling real estate facility in Ottawa, Ontario, Canada (the "Carling Sale").
As this Court is aware, at the outset of these Insolvency Proceedings, NNI, as lender, entered into
a revolving loan agreement with NNL, as borrower, and Nortel Networks Technology
Corporation ("NNTC"), another Canadian Debtor as guarantor (as amended, the "NNI DIP
Loan"). As security for the obligations under the NNI DIP Loan, NNI was granted a charge on
NNTC's ownership interest and NNL's leasehold interest in the Carling facility and a charge on
all of the Canadian Debtors' property. During the Compensation Period, FMC, along with Akin
Gump, worked with the Debtors’ professionals to ensure that the Debtors’ estates were protected
both with respect to the repayment of the NNI DIP Loan from the proceeds of the Carling Sale
and the impact of the Carling Sale on certain business unit sale purchase price escrows. An order
approving the Carling Sale was entered by the Canadian Court on November 8, 2010. On
December 17, 2010, the Carling Sale was completed and the NNI DIP Loan was subsequently
repaid with the proceeds from such Carling Sale.

30. During the Compensation Period, FMC attorneys, together with Akin Gump,
reviewed and analyzed issues relating to a purchase price dispute in connection with the sale of
the Nortel Debtors’ Carrier Voice Over IP and Application Solutions business (the “CVAS
Sale”). As this Court is aware, on November 17, 2010, the Debtors filed a motion seeking to
enforce the terms of the order approving the CVAS Sale, asserting that the purchaser,
GENBAND Inc. (“GENBAND”), had ignored the clear terms of the sale agreement to reduce the
purchase price by an additional $36 million. On November 18, 2010, GENBAND filed a motion
to compel arbitration of the purchase price dispute before an accounting arbitrator chosen by the
parties (the “GENBAND Purchase Price Dispute"). During the Compensation Period, FMC

attorneys, together with Akin Gump, reviewed the relevant pleadings. On December 9, 2010,

9424822_§
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 15 of 23

Page 11

EMC, on behalf of the Committee, filed a joinder with the Canadian Court in support of the
Debtors’ positions. A joint hearing of the U.S. and Canadian Courts regarding jurisdiction over
the purchase price dispute was held on December 15, 2010, at which FMC, on behalf of the
Committee, before the Canadian Court, supported the Debtors’ arguments against referring the
purchase price dispute to an accounting arbitrator. On January 21, 2011, the U.S. and Canadian
Courts each issued decisions denying GENBAND’s motion to compel arbitration and retaining
jurisdiction of the purchase price dispute, relying in part on the arguments advocated by the
Debtors and the Committee.

FMC Fee Application/Monthly Billing Rates

(Fees: CDN. $1,575.00; Hours 2.10)

31. This subject matter relates to time spent reviewing invoices and drafting monthly
and interim fee statements as required under the Administrative Fee Order, including
paraprofessional and attorney time to ensure that such materials do not improperly disclose
highly confidential information related to the Debtors' businesses,

Committee Meetings
(Fees: CDN. $16,780.50; Hours 27.10}

32. This subject matter relates to Committee matters, meetings and conference calls
with the Committee as a whole, and with the Committee's other legal and financial advisors.
FMC, together with the other Committee professionals, held four telephonic meetings with the
full Committee during the Compensation Period. In addition, during the Compensation Period,
FMC had numerous telephonic conferences with Akin Gump and other Committee professionals,

33. Prior to its meetings with the Committee, FMC reviewed each pending matter
requiring the Committee's attention and all underlying documentation in connection therewith

which related to the Canadian Proceeding and Recognition Proceeding. Thereafter, FMC

94248225
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 16 of 23

Page 12

discussed each of these matters with Akin Gump and the Committee's other professionals, the
Committee, as well as with individual Committee members. During these discussions, FMC
assisted the Committee in formulating a position with respect to various pending matters.

34. During the Compensation Period, FMC, together with Akin Gump, routinely held
internal meetings with the professionals assigned to this matter to ensure that FMC was
representing the Committee in an efficient manner. FMC also regularly consulted with Jefferies,
Capstone, Akin Gump and Ashurst with respect to documents and other information received
from the Debtors and their representatives.

35. Through meetings, telephone conferences, and correspondence, FMC has assisted
the Committee in fulfilling its statutory duties to make informed decisions regarding the various
issues that have arisen in the Canadian Proceeding and the Recognition Proceeding, as same

relate to the Debtors, and fo reach independent conclusions on the merits of specific matters.

Court Hearings
(Fees: CDN $15,480.50; Hours 21.20)

36. This subject matter relates to preparation for and attendance at hearings and other
proceedings before the Canadian Court in respect of the Canadian Proceeding and the
Recognition Proceeding, and reviewing material filed with the Canadian Court. FMC lawyers
appeared at hearings held before the Canadian Court during the Compensation Period where they
actively represented the Committee and asserted the Committee's positions with respect to the
matters being considered. During the Compensation Period, FMC lawyers attended to hearings
before the Canadian Court for (i) a jot hearing of this Court and the Canadian Court with
respect to the GENBAND Purchase Price Dispute, (ii) separate motions regarding the tolling of
claims by certain EMEA Debtors and the Debtors against the Canadian Debtors, and (iii) a

partial interim distribution from the HWT in connection with the HWT Wind-Up (as those terms

9424822 5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 17 of 23

Pape 13

are defined below). FMC lawyers prepared for the Court hearings by reviewing all applicable
motions and applications filed with the Canadian Court, including any responses thereto and
consulted with Akin Gump, the Committee's other professionals and the Canadian Debtors’
advisors in order to formulate appropriate strategies. FMC's participation at such hearings was
necessary to protect the interests of the Debtors' unsecured creditors.

Labor and Emplovee Benefits Issues

(Fees: CDN. $43,860.00; Hours 68.00)

37. This subject matter relates to services rendered by FMC in connection with the
analysis of the Canadian Debtors' benefits plans and general labor matters. During the
Compensation Period, FMC lawyers spent time analyzing the pension and employee related
issues raised by the various asset divestitures described herein, and where appropriate,
commented on and negotiating the underlying documentation of such transactions.

38. As previously reported to this Court, FMC attomeys represented the Committee at

a hearing in Canada filed by the Monitor (the "HWT Wind-Up Motion") for, among other things,

the approval and the methodology and allocation of the assets of the Canadian Debtors’ health
and welfare trust (the "I1WI") among certain beneficiaries participating in the HWT (the "HWT
Wind-Up"). On November 15, 2010, the Canadian Court issued an order approving the
methodology for allocation of the HWT as proposed by the Monitor. Certain long term disability

employees (collectively, the "LTD Objecting Employees") filed a request to appeal the decision

approving the methodology for allocation of the HWT. FMC attorneys assessed issues with
respect to a proposed partial interim distribution of assets from the HWT including implications
for the Debtors and the Committee, and on December 15, 2010, the Canadian Court issued an
order approving a partial interim distribution of the assets from the HWT. Subsequently, the

Ontario Court of Appeal denied the request by the LTD Objecting Employees for leave to appeal

9424822 5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 18 of 23

Page 14

the Canadian Court's decision approving a methodology for allocation of the HWT as proposed

by the Monitor.

Intercompany Analysis
(Fees: CDN. $15,685.50; Hours 20.90)

39. This subject matter relates to time spent by FMC attorneys reviewing and
analyzing certain intercompany issues arising among the various Nortel entities around the
world, and their impact on the Nortel Debtors’ Insolvency Proceedings. FMC attorneys, along
with the Committee’s other professionals, during the Compensation Period analyzing and
examining issues related to the allocation of sale proceeds and discussing such issues with the
Committee, including in-depth analyses of various methodologies for allocating value among the
Nortel Entities.

40. As this Court is aware, a mediation took place with respect to the allocation of
sale proceeds and related issues on November 11, 12, 14, 15 and 16, 2010 in New York, New
York. As disclosed in the 8-K filing of NNC on November 17, 2010, the mediation did not result
in a resolution among the parties of the allocation and related intercompany issues. Since that
time, FMC, together with Akin Gump and the Committee’s other professionals, have spent time
considering strategic alternatives, including the possible continuation of the mediation process.
Additionally, during the Compensation Periods, FMC, on behalf of the Committee, continued to

engage in discussions with the other parties regarding the allocation of sales proceeds.

General Ciaims Analysis

(Fees: CDN. $52,258.00; Hours 76.60)

41. This subject matter relates to the analysis of claims asserted or contemplated to be
asserted against the Debtors' estates and the estates of the Canadian Debtors. During the

Compensation Period, FMC attormeys, together with Akin Gump, spent time working with

9424822 5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 19 of 23

Page 15

Capstone to analyze claims filed against the Nortel Debtors in the Insolvency Proceedings, and
researching and examining legal issues in connection with certain of those claims. Additionally,
during the Compensation Period, FMC attorneys, on behalf of the Committee, negotiated with
the Nortel Debtors, the Monitor, the Administrators and the Ad Hoc Bondholder Group the terms
of stipulations and orders tolling certain claims by and among the Nortel Debtors. An order was
issued by the Canadian Court in the Canadian proceeding on December 20, 2010 regarding the
tolling of claims by certain of the EMEA Debtors against the Canadian Debtors. An order tolling
certain claims by the U.S. Debtors against the Canadian Debtors was also issued by the Canadian
Court on December 23, 2010,

Non-Working Travel

(Fees: CDN. 3660.00; Hours 1.10)

42. During the Compensation Period, FMC attorneys spent 1.10 non-working hours
traveling to court hearings and/or meetings. Pursuant to Local Rule 2016-2(d)(viii), FMC has

discounted this time by 50% and, accordingly, has billed 0.55 working hours traveling for the

Compensation Period.

Vv. ALLOWANCE OF COMPENSATION

43. | The professional services rendered by FMC required a high degree of professional
competence and expertise so that the numerous issues requiring evaluation and determination by
the Committee could be addressed with skill and dispatch and have, therefore, required the
expenditure of substantial time and effort. It is respectfully submitted that the services rendered
to the Committee were performed efficiently, effectively and economically, and the results
obtained to date have benefited not only the members of the Committee, but also the unsecured

creditor body as a whole and the Debtors’ estates.

94248225
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 20 of 23

Page 16

44, The allowance of interim compensation for services rendered and reimbursement
of expenses in bankruptcy cases is expressly provided for in section 331 of the Bankruptcy Code:

... any professional person ... may apply to the court not more than once every

120 days after an order for relief in a case under this title, or more often if the

court permits, for such compensation for services rendered . . . as is provided

under section 330 of this title.
11 U.S.C. § 331. Moreover, this Court has authorized the filing of this Application pursuant to
the Administrative Fee Order.

45. With respect to the level of compensation, 11 U.S.C. § 330(a)(1)(A) provides, in
pertinent part, that the Court may award to a professional person "reasonable compensation for
actual, necessary services rendered ...." 11 U.S.C. § 330(a)(1)(A). Section 330(a)(3), in turn,
provides that:

In determining the amount of reasonable compensation to be awarded . . . the

court shall consider the nature, the extent, and the value of such services, taking

into account all relevant factors, including —

(A) the time spent on such services;

(B) the rates charged for such services;

(C) whether the services were necessary to the administration of, or
beneficial at the time at which the service was rendered toward the
completion of, a case under this title;

(D) whether the services were performed within a reasonable amount of
lime commensurate with the complexity, importance, and nature of the
problem, issue, or task addressed;

(E) with respect to a professional person, whether the person is board
certified or otherwise has demonstrated skill and experience in the
bankruptcy field; and

(F) whether the compensation is reasonable based on the customary

compensation charged by comparably skilled practitioners in cases other
than cases under this title.

9424822 5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 21 of 23

Page 17

11 U.S.C. §330(a)(3). The clear Congressional intent and policy expressed in this statute is to
provide for adequate compensation in order to continue to attract qualified and competent
bankruptcy practitioners to bankruptcy cases.

46. The total time spent by FMC lawyers during the Compensation Period was 397.30
hours. The work involved, and thus the time expended, was carefully assigned in light of the
experience and expertise required for a particular task.

47. As shown by this application and supporting documents, FMC spent its time
economically and without unnecessary duplication of time. Attached hereto as Exhibit Eis a
schedule of the hours expended by the lawyers and paraprofessionals during the Compensation
Period, their normal hourly rates, and the value of their services. In addition, FMC incurred
actual out-of-pocket expenses in connection with the rendition of the professional services to the
Committee in the sum of CDN. $6,940.25 for which FMC respectfully requests reimbursement
in full.

48. The disbursements and expenses have been incurred in accordance with FMC's
normal practice of charging clients for expenses clearly related to and required by particular
matters. FMC has endeavored to minimize these expenses to the fullest extent possible.

49. FMC"s billing rates do not include charges for photocopying, telephone and
facsimile charges, compulerized research, travel expenses, “working meals," secretarial
overtime, postage and certain other office services, since the needs of each client for such
services differ. FMC believes that it is fairest to charge each client only for the services actually

used in performing services for it. In these proceedings, FMC charges $.10 per page for internal

duplicating.

9424822_5
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 22 of 23

Page 18

50. No agreement or understanding exists between FMC and any other person for the
sharing of any compensation to be received for professional services rendered or to be rendered
in connection with these cases.

51. _No prior application has been made in this or in any other Court for the relief
requested herein for the Compensation Period.

{Phe Remainder of Page Intentionally Left Blank]

9424822 §
Case 09-10138-MFW Doc 4938 Filed 02/16/11 Page 23 of 23

Page 19

WHEREFORE, FMC respectfully requests that this Court:

(a) approve the allowance of CDN. $258,613.50 for compensation for
professional services rendered to the Committee during the period from December 1, 2010
through and including December 31, 2010;

(b) approve the reimbursement of FMC's out-of-pocket expenses incurred in
connection with the rendering of such services during the period December 1, 2010 through and
including December 31, 2010 in the amount of CDN. $6,940.25; and

(c) authorize and direct the Debtors to immediately pay to FMC the amount of
CDN. $213,831.05 (USD $216,067.66"), which is equal to the sum of 80% of FMC's fees and
100% of FMC’s expenses incurred during the Compensation Period.

Dated: Toronto, Ontario
February 16, 2011

77 King Street West, Suite 400
Toronto-Dominion Centre

Toronto, Ontario M5K 0A1

(416) 863-4511

Canadian Counsel to the Official Committee of
Unsecured Creditors

2
Reuters Exchange Rate as of close of business on February 14, 2011 was CDN. $1.00: US. $1.0106

94248225
